Case 9:03-cv-80295-DMM Document 25 Entered on FLSD Docket 05/15/2003 Page 1 of 3

-

AFFIDAVIT OF SPECIAL PROCESS SERVER

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 03-80295 b Aw

EMARKETERSAMERICA.ORG, INC.
A Florida Non Profit Corporation,
Plaintiff,

v.
THE SPAMBAUS PROJECT d/b/a

SPAMHAUS.ORG, et al.,
Defendant(s).

 

TERRENCE P. ZIEMANN states:

1. That he is a citizen of the United States of America and the State of Illinois, above the age of eighteen years, not
a party to the above action and in no way interested therein.

2. That he served a copy of the CIVIL CASE SUMMONS and COMPLAINT issued in this matter on:

ADAM BROWER d/b/a THE HERMES GROUP d/b/a SPEWS.ORG
1111 57 STREET
MENDOTTA, IL 60559

By leaving a copy thereof with said Defendant, ADAM BROWER, on MAY 6, 2003.

CRON TORO REECE ROR ESS TREES O PSR R KTR R ERECTOR SEER
The Sex, Race and Approximate Description of the person with whom he left the documents are as follows:

Sex: MALE Height: 5°9” Weight: 150 Ibs.

Race: WHITE Age: 150 Hair: BLACK/GRAY

Other Features: NONE

The time and place the documents were served are as follows:

Place: 11115™ STREET
MENDOTTA, IL 61342

Time: 9:00 P.M.

CERTIFICATION

I certify under penalty of perjury under the laws of the United States for the foregoing is true and correct.

Ullindis Process ye ~~

Executed on MAY 8, 2003. ‘

<> 7
mun
Cc

CAPLAN 8 CA

wn a. fe

TSE

3, i's 33301

=)
Lt

Case 9:03:cv-80295-DMM Document 25 Entered on FLSD Docket 05/15/2003 Page 2 of 3 ”r)
, QW
UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number:
EMARKETERSAMERICA.ORG, INC.,

03-80295
A Florida Non Profit Corporation, CIV -2 RTET UTM EBRG OKS
Plaintiff,

VS.

 

 

 

 

 

MAGISTRATE
JUO
JOHNSON ae
THE SPAMHAUS PROJECT d/b/a /
SPAMHAUS.ORG, et. al., awd
SERVED —
Defendants. / DATE TIME —
SUMMONS IN A CIVIL CASE . (Prat | Se
CERTIRED i THE CHRCIAT COORT OF
TO: ADAM BROWER d/b/a THE HERMES GROUP d/b/a SPEWS,QROOHL OFOUR CERT.
1111 Sth Street, Mendotta, IL 61342 or 504A E Ogden Avenue, Suite 236;
Westmont, IL 60559 }? (2 Ser ve tu Y- 2 2
a ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY,
FELSTEIN & ASSOCIATES, P.A.
Attorneys for EMarketersAmerica.org, Inc.
555 South Federal Highway, Suite 450
Boca Raton, Florida 33432
(561) 367-7990 Phone
ae (561) 367-7980 Facsimile

answer to the complaint which is herewith served upon you, within twenty (20) days after
#vice of this summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You must also file

your answer with the Clerk of this Court within a reasonable period of time after service.
Clarence Maddox

APR 14 003
“folee Gor faa DATE

(BY) DEPUTY CLERK

5

 

| Due
Case 9:03*cv- -80295- DMM Document 25 Entered on FLSD Docket 05/15/2003 Page 3 of 3

AO 440 (Rev. 10/2002) Summons in a Civil Case (Reverse)

 

 

 

 

. RETURN OF SERVICE
Service of the Summons and Complaint was made by me | DATE
NAME OF SERVER (PRINT) TITLE

 

 

Check one box below to indicate appropriate method of service

 

G__ Served personally upon the defendant. Place where served:

 

 

G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable
age and discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

 

G = Returned unexecuted:

 

 

 

 

Gs Other (specify):

 

 

 

STATEMENT OF SERVICE FEES
TRAVEL SERVICES TOTAL

DECLARATION OF SERVER

 

 

 

 

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing

information contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

 

Q) As to who may scrve a summons see Rule 4 of the Federal Rules of Civil Procedure.
